
78 N.Y.2d 1087 (1991)
The People of the State of New York, Respondent,
v.
Chakka Williams, Appellant.
Court of Appeals of the State of New York.
Argued October 17, 1991.
Decided November 19, 1991.
Daniel S. Steinberg and Ursula Bentele for appellant.
Charles J. Hynes, District Attorney (Keith Dolan, Jay M. Cohen and Peter A. Weinstein of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges SIMONS, KAYE, ALEXANDER, TITONE, HANCOCK, JR., and BELLACOSA.
Order affirmed. Defendant's Rosario argument is unpreserved *1089 for this Court's review, and his remaining arguments are without merit.
